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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS


JEAN CARLOS SANCHEZ, on behalf of                      CIVIL ACTION NO 18-03153
himself and other persons similarly situated,

        Plaintiff,                                     JUDGE
v.                                                     GARY FEINERMAN

IDT TELECOM, INC. d/b/a BOSS
REVOLUTION                                             MAG. JUDGE
                                                       MARY M. ROWLAND
        Defendant.



                        PLAINTIFF’S NOTICE OF SERVICE OF
                     MANDATORY INITIAL DISCOVERY RESPONSES

        PLEASE TAKE NOTICE that on June 1, 2018, Plaintiff Jean Carlos Sanchez, through his

counsel of record, caused to be filed Plaintiff’s Notice of Service of Mandatory Initial Discovery

Responses, a copy of which was served upon all counsel of record via electronic mail on June 1,

2018.

                                                       Respectfully submitted:

                                                       /s/ Roberto Luis Costales
                                                       ________________________________
                                                       Roberto Luis Costales
                                                       William H. Beaumont
                                                       BEAUMONT COSTALES LLC
                                                       3151 W. 26th Street, Second Floor
                                                       Chicago, Illinois 60623
                                                       Telephone: (773) 831-8000
                                                       Attorneys for Plaintiff

                                 CERTIFICATE OF SERVICE
        I hereby certify that on June 1, 2018, I served a copy of the foregoing on counsel for

Defendants via the Court’s CM/ECF system.

                                                /s/ Roberto Luis Costales
